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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

G&G CLOSED CIRCUIT EVENTS, LLC,

                           Plaintiffs,
                                                             DEFAULT JUDGMENT
             - against -
                                                                20 Civ. 3491 (PGG)
MARISOL ROSSI, individually and d/b/a
Solace Bar & Grill, and SOLACE BAR &
GRILL, an unknown business entity d/b/a
Solace Bar & Grill

                           Defendants.


PAUL G. GARDEPHE, U.S.D.J.:

               For the reasons explained at the October 15, 2020 hearing, Plaintiff’s application

for a default judgment against Defendant Solace Bar & Grill is granted. The Clerk of Court will

enter judgment against Solace Bar & Grill as follows: $2,200 in statutory damages, $5,000 in

enhanced damages, and $686.52 in costs. Post-judgment interest will accrue at the statutory rate

until the judgment is paid in full. The Clerk of Court is directed not to close the case.

Dated: New York, New York
       November 6, 2020
                                              SO ORDERED.


                                              _________________________________
                                              Paul G. Gardephe
                                              United States District Judge
